Case 3:16-md-02738-MAS-RLS Document 33100 Filed 08/20/24 Page 1 of 1 PageID: 227443
                                    Montgomery
                                    218 Commerce Street
                                    P.O. Box 4160
                                    Montgomery, AL 36103-4160

                                    Atlanta
                                    4200 Northside Parkway
                                    Building One, Suite 100
                                    Atlanta, GA 30327

                                    (800) 898-2034
                                    BeasleyAllen.com


    P. Leigh O’Dell                                                                         Michelle A. Parfitt
    leigh.odell@beasleyallen.com                                                            mparfitt@ashcraftlaw.com



                                                         August 20, 2024

    VIA ECF
    Honorable Rukhsanah L. Singh, U.S.M.J
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608

              Re:       In re: Johnson & Johnson Talcum Powder Products, Marketing,
                        Sales Practices, and Products Liability Litigation
                        Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Singh:

           We write to request additional pages for purposes of the Rule 702 opposition
    briefs due this Thursday, August 22nd. The Plaintiffs have requested a total of 550
    pages for the opposition briefs. Defendants agree to 425 pages, which they represent
    is 20 more pages than Defendants’ original briefing.

          Thank you in advance for your consideration and resolution of this limited
    dispute.

                                                   Respectfully submitted,

                                   s/ P. Leigh O'Dell              s/ Michelle A. Parfitt
                                   P. Leigh O'Dell                 Michelle A. Parfitt

                                               Plaintiffs’ Co-Lead Counsel

    cc:      Susan Sharko, Esq. (via email)
             All Counsel (via ECF)
